
PER CURIAM.
| Writ granted. Following a rape conviction in which the state’s case rested largely on the victim’s identification and in which relator presented a defense of mis-identification at trial, the lower courts erred when they denied the application for post conviction DNA testing based on the alleged failure of the testing to establish relator’s innocence. La. Code Crim. Proc. art. 926.1(B) and (C). The district court is therefore directed to investigate the availability and integrity of the untested evidence and to order DNA testing in the event that it determines the results could tend to make relator’s guilt more or less probable. La.Code Crim. Proc. art. 926.1(C) and (D). See e.g., State v. Stokes, 10-1387 (La.2/11/11), 56 So.3d 1008.
VICTORY and CLARK, JJ„ would deny.
WEIMER, J., recused.
